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LENARD E. SCHWARTZER
2850 S. Jones Blvd., Ste 1

Las Vegas, NV 89146

(702) 307-2022

TRUSTEE

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

In re Case No. BK-SS 19-11372-BTB

JOEL CROSBY SINNOTT, IN PROCEEDINGS UNDER CHAPTER 7
TRUSTEE'S EX PARTE APPLICATION TO
EMPLOY DEBORAH L. PRIEBE, REAL
ESTATE AGENT, ON A COMMISSION
BASIS

Debtor

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The ex parte application of Trustee represents:

I: The Debtor filed for relief under Chapter 7 of the United States Bankruptcy Code
on March 12, 2019, and LENARD E. SCHWARTZER is the duly appointed and acting trustee
herein.

2. The Debtor's assets include property situated in Clark County, Nevada (the
Property") described as:

8720 Castle View Ave Las Vegas, Nv 89129

3. According to the schedules, the property is "upside down," and, in all likelihood,
will be sold as a "short sale."

4, Trustee wishes to employ a real estate agent to sell the Property.

5. Trustee has selected DEBORAH L. PRIEBE, a licensed real estate agent
("Realtor"), Senior Vice President of Short Sale Success, 170 South Green Valley Parkway, Suite

200, Henderson, Nevada 89012, and associated with Elegant Properties LLC, 170 South Green

 
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Valley Parkway, Suite 200, Henderson, Nevada 89012, a licensed real estate brokerage firm.
Realtor has had considerable experience selling real estate of this type.

6. Trustee desires to retain Realtor under an exclusive right to sell and pay a
commission upon the closing of the sale of the property. Any sale will be subject to the prior
approval of this Court.

7. The Trustee is of the opinion that it would be in the best interests of the estate for
your Applicant to retain Realtor as a real estate agent. The Trustee will only present a sale where
there are material net proceeds for the Bankruptcy Estate.

8. To the best of Applicant's knowledge, neither Realtor nor any employee or officer
of Short Sale Success or Elegant Properties LLC, represent an interest adverse to the Debtor,
creditors, any other party in interest, their respective attorneys and accountants, the United States
Trustee, or any person employed in the Office of the United States Trustee.

9. Realtor is aware that dual representation of the Chapter 7 Trustee/Bankruptcy
Estate and buyer is prohibited

10. Realtor will charge a 6% commission based on the sales price, subject to review
under 11 USC § 330 of the Bankruptcy Code and Court approval.

11. Applicant routinely employs DEBORAH L. PRIEBE as a realtor in other
unrelated cases.

Wherefore, Trustee prays for an order authorizing the employment of Realtor to sell the

above-described property on the terms stated herein.

Dated: July 3, 2019

 

LENARD E. SCHWARTZER
Trustee

 
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DECLARATION OF TRUSTEE

I declare, under penalty of perjury, that the foregoing is true and correct, to the best of my

knowledge, information and belief.

DATED: July 3, 2019 IEE. A-

LENARD E. SCHWARTZER

 
